      Case: 1:09-cv-03987 Document #: 1 Filed: 07/02/09 Page 1 of 2 PageID #:1



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS

BRIDGEPORT PAIN CONTROL                    )
CENTER, LTD.,                              )
                                           )
                    Plaintiff,             )
                                           )
      v.                                   )          No. 1:09-cv-03987
                                           )
STL INTERNATIONAL, INC.,                   )
and JOHN DOES 1-10,                        )
                                           )
                    Defendants.            )

                            NOTICE OF REMOVAL
      Defendant STL International, Inc. (“STL”) removes this action from the

Circuit Court of Cook County, Illinois, to the United States District Court for the

Northern Distroct of Illinois, pursuant to 28 U.S.C. § 1441. In support, STL states

as follows:

      1.      Plaintiff, Bridgeport Pain Control Center, Ltd. (“Bridgeport Pain

Control”), initiated this action on May 21, 2009, by filing a complaint against STL in

the Circuit Court of Cook County, Illinois, entitled Bridgeport Pain Control Center,

Ltd. v. STL International, Inc., et al., Case No. 09 CH 17079.

      2.      In its complaint, Bridgeport Pain Control alleges that STL sent it an

unsolicited fax advertisement in violation of the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227. Bridgeport Pain Control also asserts claims against

STL for violation of the Illinois Consumer Fraud Act (“ICFA”), 815 ILCS 505/2, and

conversion, based on the same alleged wrongful act.
      Case: 1:09-cv-03987 Document #: 1 Filed: 07/02/09 Page 2 of 2 PageID #:2



      3.     Bridgeport Pain Control served STL with a summons and a copy of its

complaint on June 2, 2009. Duplicates of summons and complaint, which constitute

all process, pleadings, and orders served upon STL in this action, are attached to

this Notice of Removal.

      4.     STL now removes this action from the Circuit Court of Cook County,

Illinois, to this Court, based on federal question jurisdiction, 28 U.S.C. 1331.

Specifically, this action arises under federal law, namely, the TCPA, and this Court,

therefore, has original jurisdiction over it.

      5.     Further, the Court has supplemental jurisdiction, 28 U.S.C. 1367, over

Bridgeport Pain Control’s state-law claims for violation of the ICFA and conversion

because those claims are based on the same operative facts as Bridgeport Pain

Control’s claim for violation of the TCPA, specifically, STL’s alleged transmission of

an unsolicited fax advertisement to Bridgeport Pain Control.

      Dated: July 2, 2009.                      Respectfully submitted,

                                                s/Edward P. Gibbons
                                                Edward P. Gibbons (Bar No. 6201189)
                                                Christopher A. Wadley (Bar No. 6278615)
                                                Walker Wilcox Matousek LLP
                                                225 West Washington Street, Suite 2400
                                                Chicago, Illinois 60606
                                                Telephone: (312) 244-6700
                                                Fax: (312) 244-6800
                                                E-mail: egibbons@wwmlawyers.com
                                                        cwadley@wwmlawyers.com




                                            2
